Case 14-12612-m1<n

Bl (Offlcial Form l) (04/13)
UNm:i) STATES BANKRUPTCY CouRT

SOUTHERN DISTRICT OF NEVADA

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Name of Debtor (if individual, enter Last, First, Middle):

 

é.&¥ .
Name of Jolnt Debtor (Spouse) (Last, Flrst, AMlddle):

 

BUR|SCH;DEBORAH QF[‘F\\IF
All Other Names used by the Debtor in the last 8 years All Oilier§:_gmby the Joint e last 8 years
(include married, maiden, and trade names): (incA en, and tra nalY-|

  
  

 

Last four digits of Soc Sec. or lndividual-Taxpayer I. D (ITIN)/Complete EIN (U H
(if` more than one, state all):

6404

 

   

llli’$l\‘<>ul<litits

(if more than one, state all):

ividua - axpayer I.D. (ITIN)/Complete EIN

~tt~`

 

u.S
MA

EIP CODE §§i §§ l

Street Address of Debtor (No. and Street, City, and State):

4801 E SAHARA AVENUE #138
LAS VEGAS, NEVADA

ofJ n D o. and Street, City, and State):

RYA. SCHOTT. CLOERK
[ZIPCODE l

 

County of Residence or of the Principal Place of Business'.

CLARK

County of Residence or of the Principal Place of Business:

 

Mailing Address of Debtor (if different from street address);
SAME

EIP CODE l

Mailing Address of Joint Debtor (if` different from street address):

 

EIP CODE l

 

Location of Principal Assets of Business Debtor (if different from street address above):

SAME

EIP CODE l

 

 

 

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
(Check one box.)
m Health Care Business [Z Chapter 7 m Chapter 15 Petition for
M lndividual (includes Joint Debtors) m Single Asset Real Estate as defined in m Chapter 9 Recognition of a Foreign
See Exht‘bit D on page 2 of this form. 11 U.S.C. § 101(5 l B) m Chapter l l Main Proceeding
I:l Corporation (includes LLC and LLP) m Railroad m Chapter 12 m Chapter 15 Petition for
I:l Partnership m Stockbroker m Chapter 13 Recognition of a Foreign
m Other (If debtor is not one of the above entities, check m Commodity Broker Nonmain Proceeding
this box and state type of entity below.) m Clearing Bank
m Other
Chapter 15 Debtors Tax-Exempt Entity Nature of Deth
- ~ - . (Check box, if applicable.) (Check one box.)
Country of debtor s center of main 1nterests. m Debts are primarily consumer m Deth are
m Debtor is a tax-exempt organization debts, defined in ll U.S.C. primarily
Each country in which a foreign proceeding by, regarding, or under title 26 of the United States § 101(8) as “incurred by an business debts.
against debtor is pending: Code (the Intemal Revenue Code). individual primarily for a
personal, family, or
household purpose.”

 

 

Filing Fee (Check one box.)

m Full Filing Fee attached.

m Filing Fee to be paid in installments (applicable to individuals only). Must attach
signed application for the court’s consideration certifying that the debtor is
unable to pay f`ee except in installments. Rule 1006(b). See Official Form 3A.

m Filing Fee waiver requested (applicable to chapter 7 individuals only). Must

attach signed application for the court’s consideration. See Official Form 3B.

Chapter ll Debtors
Check one box:
m Debtor is a small business debtor as defined in ll U.S.C. § 101(51D).
m Debtor is not a small business debtor as defined in l l U.S.C. § 101(51D).

Check if:

m Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
on 4/01/16 and every three years thereafter).

Check all applicable boxes:

m A plan is being filed with this petition.

 

 

 

 

 

 

m Acceptances of the plan were solicited prepetition from one or more classes
of` creditors, in accordance with l l U.S.C. § 1126(b).
Statistical/Administrative information THIS SPACE lS FOR
COURT USE ONLY
I:l Debtor estimates that funds will be available for distribution to unsecured creditors.
a Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors.
V 'rr\ated Nu ber of Creditors
1 § |:1 |] |:1 |:1 |:1 |:1
1 -49 0-99 100-199 200-999 1,000- 5,001- 10,001- 25,00]- 50,001- Over
5,000 10,000 25,000 50,000 100,000 100,000
Estimated Assets
G |:1 |] |:1 |] |:1 |:1 |:1 |:1 |]
$010 $50,001 to $ lO0,00l to $500,001 $1,000,001 $l0,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 10 $1 to $10 to $50 to $100 to 3500 to $l billion $1 billion
million million million million million
Estimated Liabilities
E |:1 |] |:1 |:1 |] |] |] |] |:1 `
$O to $50,001 to 3100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $lO0,000,00l $500,000,00] More than
$50,000 $100,000 $500,000 to $l to 310 to $50 to 3100 to $500 to $l billion $l billion
million million million million million

 

 

 

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Bl (Official Form 1) (04/13) Page 2

Voluntary Petition N f e o ( '
(T his page must be completed and filed in every case.) §IU §|§8`-{1 SBEBORAH

All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Case Number: Date Filed:
Where Filed:
Location Case Number: Date Filed:
Where Filed:

Pending Bankruptcy Case Filed by any Spouse, Partner, or Aff'iliate of this Debtor (If more than one, attach additional sheet.)

Name of Debtor: Case Number: Date Filed:
District: Relationship: Judge:

Exhibit A Exhibit B
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and (To becompleted if debtor is an individual
lOQ) with the Securities and Exchange Commission pursuant to Section 13 or 15(d) whose debts are primarily consumer debts.)

of the Securities Exchange Act of 1934 and is requesting relief under chapter 1 1.)
I, the attorney for the petitioner named in the foregoing petition, declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
of title 11, United States Code, and have explained the relief available under each
such chapter. I further certify that I have delivered to the debtor the notice required
by 11 U.S.C. § 342(b).
I:] Exhibit A is attached and made a part of this petition
X

Signature of Attomey for Debtor(§) (Date)

 

 

 

Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

I:] Yes, and Exhibit C is attached and made a part of this petition.

m No.

 

Exhibit D

(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
M Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.
If this is a joint petition:

I:] Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

 

lnformation Regardlng the Debtor - Venue
(Check any applicable box.)
11 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

El

There is a bankruptcy case concerning debtor‘s affiliate, general partner, or partnership pending in this District.

El

Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state coun] in this
District, or the interests of the parties will be served in regard to the relief sought in this District.

 

Certillcation by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

I:l Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

l:] Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

I:] Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
of the petition

I:] Debtor certifies that he/she has served the Landlord with this certification (11 U.S.C. § 362(1)).

 

 

 

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Bl (Official Form 1) (04/13)

Page 3

 

Voluntary Petition
(This page must be completed and filed in every case.)

Name of DebtoBsé:
BUR|SCH. BORAH

 

Signatures

 

Signature(s) of Debtor(s) (Individual/Joiot)

I declare under penalty of perjury that the information provided in this petition is true
and correct.

[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] l am aware that 1 may proceed under chapter 7, l l, 12
or 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.

[If no attorney represents me and no bankruptcy petition preparer signs the petition] 1
have obtained and read the notice required by ll U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United tates Code,

     
   

 

 

 

Signature of a Foreign Representative

l declare under penalty of perjury that the information provided in this petition is true
and correct, that l am the foreign representative of a debtor in a foreign proceeding,
and that 1 am authorized to file this petition.

(Check only one box.)

l:\ I request relief in accordance with chapter 15 of title 11, United States Code.
Certified copies of the documents required by 1 1 U.S.C. § 1515 are attached

l:\ Pursuant to 11 U.S.C. § 1511, 1 request relief in accordance with the
chapter of title 1 1 specified in this petition. A certified copy of the

 

 

 

 

 

Signature of Attomey for Debtor(s)

 

Printed Name of Attomey for Debtor(s)

 

Firm Name

 

Address

 

Telephone Number

 

Date

"‘In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.

 

Signature of Debtor (Corporation/Partnership)
l declare under penalty of perjury that the information provided in this petition is true
and correct, and that l have been authorized to file this petition on behalf of the
debtor.

The debtor requests the relief in accordance with the chapter of title 1 1, United States
Code, specified in this petition.

X

 

Signature of Authorized lndividual

 

Printed Name of Authorized lndividual

 

'l`itle of Authorized lndividual

 

Date

 

 

specified in tition. t. order granting recognition of the foreign main proceeding is attached
X X
Signatur of Debtor (Signature of Foreign Representative)
X
Si ature of Joint Debtor (Printed Name of Foreign Representative)
713'24095026
Tele hone Number (if not represented by attomey)
04 12/2014 Date
Date
Signature of Attomey* Signature of Non-Attomey Bankruptcy Petition Preparer
X l declare under penalty of perjury that: (l) 1 am a bankruptcy petition preparer as

defined in 11 U.S.C. § 110; (2) l prepared this document for compensation and have
provided the debtor with a copy of this document and the notices and information
required under 11 U.S.C. §§ 1 10(b), llO(h), and 342(b); and, (3) if rules or
guidelines have been promulgated pursuant to 11 U.S.C. § 1 10(h) setting a maximum
fee for services chargeable by bankruptcy petition preparers, l have given the debtor
notice of the maximum amount before preparing any document for filing for a debtor
or accepting any fee from the debtor, as required in that section. Official Form 19 is
attached.

MAGG|E STR|CKLAND
Printed Name and title, if any, of Bankruptcy Petition Preparer
530-41 -0652

Social-Security number (lf the bankruptcy petition preparer is not an individual,
state the Social-Security number of the officer, principal, responsible person or
partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

 

 

720 E CHARLESTON BLVD STE 140 LAS VEGAS

 

 

 

NEVADA 891 04 s
Address n
X 11111111/1///5/»1/1
Signature /
04/ 1 2/20 1 4
Date

Signature of bankruptcy petition preparer or officer, principal, responsible person, or
partner whose Social-Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or assisted
in preparing this document unless the bankruptcy petition preparer is not an
individual.

lf more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person.

A bankruptcy petition preparer `s failure to comply with the provisions of title l l and
the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
both. ll U.S.C. § ll0; l8 U.S.C. § 156.

 

 

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B lD (Official Form 1, Exhibit D) (12/09)

UNITED STATES BANKRUPTCY CoURT

SOUTHERN DISTRICT OF NEVADA

In re BUR|SCH, DEBORAH Case No.
Debtor (if known)

EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COM]’LIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If` your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

Evety individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

['.| l. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

21 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.

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B 10 (ofnciai Form 1, Exh. D) (12/09) _ cont Page 2

1:1 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]

If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case, Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also

, be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

13 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

13 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
illness or mental deficiency so as to be incapable of realizing and making rational _
decisions with respect to financial responsibilities.);

13 Disability. (Defined in ll U.S.C. § 109(h)(4) as physically impaired to the
extent of being unable, after reasonable effort, to participate in a credit counseling
briefing in person, by telephone, or through the Internet.);

1:1 Active military duty in a military combat zone.

1:1 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

I certify under penalty of perjury that the information provided above is true and

correct.
Signature of Debtor: `LMMMA/wéz\

Date; 04/12/2014

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Certificate Number: 03621-NV-CC-023184705

036

21-NV-CC-023184705

CERTIFICATE OF CoUNSELING

I CERTIFY that on April 12, 2014, at 9:45 o'clock AM EDT, Deborah K Burisch
received from Credit Card Management Services, Inc. d/b/a Debthelper.com, an
agency approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the
District of Nevada, an individual [or group] briefing that complied with the
provisions of 11 U.S.C. §§ 109(h) and 111.

 

A debt repayment plan was not prepared, If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate

This counseling session Was conducted by internet.

Date: April 12, 2014 By: /s/Rosy Arreaga
Name: Rosy Arreaga

Title: Credit Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).

 

 

 

 

 

 

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FB 201A (Form 201A) (11/12)

UNITED STATES BANKRUPTCY COURT

NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)

OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (l) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Inforrns you
about bankruptcy crimes and notifies you that the Attomey General may examine all information you supply in
connection with a bankruptcy case,

You are cautioned that bankruptcy law is complicated and not easily described Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition Court
employees cannot give you legal advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), land each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

l. Services Available from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies Each debtor in a joint
case must complete the briefing

 

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankrupth Code Available to Individual Consumer Debtors

Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)

Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny

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Form B 201A, Notice to Consumer Debtor(s) Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $281)

Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors The court must approve your plan before it can take
effect.

After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations

Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)

Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors Its
provisions are quite complicated and any decision by an individual to file a chapter ll petition should be reviewed
with an attorney.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attomey General acting through the Office of the United States Trustee, the Office of the United States Attomey,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(l) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcv forrns.html#procedure.

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B 201B (Form 201B) (12/09)

UNITED STATESBANKRUPTCY COURT

SOUTHERN DISTRICT OF NEVADA

In re BUR|SCH, DEBORAH Case No.
Debtor
Chapter 7

CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) OF THE BANKRUPTCY CODE

Certification of [Non-Attorney] Bankruptcy Petition Preparer
I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code,

 

 

MAGG|E STR|CKLAND 530410652
Printed name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy petition
Address: 720 E CHARLESTON BLVD STE 140 LAS preparer is not an individual, state the Social Security

VE AS NEV D l 910 number of the officer, principal, responsible person, or
§ l ‘/ ft partner of the bankruptcy petition preparer.) (Required
X l ' , /(//l/Z » by ll U.S.C. § 110.)

l

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.

Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of

  

 

 

Code. M

X MM ` v 4/12/2014
Printed Name(s) of Debtor(s) Signature of Debtor Date
Case No. (if known) X

 

Signature of Joint Debtor (if any) Date

 

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code,

Use this fortn to certify that the debtor has received the notice required by ll U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form Bl. Exhibit B on page 2 of Form Bl contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor, The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form Bl also include this certification

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B19(Offic1a| Form 19) (12/07)

United States Bankruptcy Court

SOUTHERN DISTRICT OF NEVADA

In re BUR|SCH, DEBORAH
Debtor

, Case No.
Chapter 7

DECLARATION AND SIGNATURE OF NON-ATTORNEY
BANKRUPTCY PETITION PREPARER (See ll U.S.C. § 110)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
in 11 U.S.C. § 110; (2) I prepared the accompanying document(s) listed below for compensation
and have provided the debtor with a copy of the document(s) and the attached notice as required
by 1 l U.S.C. §§ 110(b), 110(h), and 342(b); and (3) if rules or guidelines have been promulgated
pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any
document for filing for a debtor or accepting any fee from the debtor, as required by that section

Accompanying documents: Printed or Typed Name and Title, if any, of
TYPED AND PREPARED PET|T|ON Bankruptcy Petition Prepareri
MAGG|E STR|CKLAND

Social-Security No. of Bankruptcy Petition

Preparer (Required by 11 U.S.C. § 110):
530410652

 

 

If the bankruptcy petition preparer is not an individual, state the name, title ( if any), address,

and social-security number of the oficer, principal, responsible person, or partner who signs
this document,

720 E CHARLESTON BLVD STE 140 LAS
VEWEW

Address ‘ _
X 1 04/12/2014
Sig a reo a pcy eiion reparer Date

Names and social-security numbers of all other individuals who prepared or assisted in preparing
this document, unless the bankruptcy petition preparer is not an individuals

 

If more than one person prepared this document, attach additional signed sheets conforming to the
appropriate Ojj'icial F orm for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title ll and the Federal
Rules of Bankruptcy Procedure may result in fines or imprisonment or both. ll U.S.C. § 110; 18
U.S.C. § 156.

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1319 (omcial Form 19) (12/07) - Conc. 2

NOTICE TO DEBTOR BY NON-ATTORNEY BANKRUPTCY PETITION PREPARER
[Must be filed with any document(s) prepared by a bankruptcy petition preparer.]

I am a bankruptcy petition preparer. I am not an attorney and may not practice law or give
legal advice. Before preparing any document for filing as defined in § 110(a)(2) of the Bankruptcy
Code or accepting any fees, I am required by law to provide you with this notice concerning
bankruptcy petition preparers, Under the law, § 110 of the Bankruptcy Code (11 U.S.C. § 110), I am
forbidden to offer you any legal advice, including advice about any of the following:

° whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

° whether commencing a case under chapter 7, 11, 12, or 13 is appropriate;

° whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

° whether you will be able to retain your home, car, or other property after commencing a case
under the Bankruptcy Code;

° the tax consequences of a case brought under the Bankruptcy Code;

~ the dischargeability of tax claims;

° whether you may or should promise to repay debts to a creditor or enter into a reaffirmation
agreement with a creditor to reaffirm a debt;

° how to characterize the nature of your interests in property or your debts; or

° bankruptcy procedures and rights

[ T he notice may provide additional examples of legal advice that a bankruptcy petition preparer is
not authorized to give.]

In addition, under 11 U.S.C. § 110(h), the Supreme Court or the Judicial Conference of the
United States may promulgate rules or guidelines setting a maximum allowable fee chargeable by a
bankruptcy petition preparer. As required by law, I have notified you of this maximum allowable
fee, if any, before prepari£;zny document for filing or accepting any fee from you.

l 04/1 2/201 4
Signature of bebtor Date Joint Debtor (if any) Date

 

 

[In a joint case, both spouses must sign.]

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3280 (Form 280) (10/05)

United States Bankruptcy Court
\/Y District Of /U l/

Inre llllll(llllz¢ 421 l?lll (j;l

Debtor Case No.

_W.__
Chapter

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITlON PREPARER

[ This form must be filed with the petition if a bankruptcy petition preparer prepares the petition. [[ U.S.C. § [[0(h)(2).]

6.

Under ll U.S.C. § llO(h), l declare under penalty of perjury that l am not an attorney or employee of an attomey, that I prepared
or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this bankruptcy case,
and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to be paid to me, for
services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For document preparation services l have agreed to accept ............................... $ / 6 0

Prior to the filing of this statement l have received ............................................. $ l 5 Z

Balance Due ......................................................................................................... $ g

I have prepared or caused to be prepared the following documents (itemize):

and provided the following services (itemize):

The sour of the compensation paid to me was:
§ Debtor l:l Other (specify)

The source of compensation to be paid to me is:
Debtor 1:1 other (specify)

The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition filed
by the debtor(s) in this bankruptcy case,

To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy case
except as listed below:

NWI;J( j %D SOCIAL SECURITY NUMBER
,1 1 itt/mt att/tmt …/4
ign_a r Social Security number of bankruptcy Date
petition preparer (If` the bankruptcy
Printe na e nd title, if any, of Ban ptcy petition preparer is not an individual,

Address:

Petition Preparer state the Social Security number of the
officer, principal, responsible person or

 

partner of the bankruptcy petition preparer.)
(Required by ll U.S.C. § 110.)

 

 

A bankruptcy petition preparer's failure to comply with the provisions of title [ [ and the F ederal Rules of Bankruptcy Procedure may result
infines or imprisonment or both. [[ U.S.C. § [[0,' 18 U.S.C. § 156.

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136 Summary (Of`t`icial Form 6 - Summary) (12/07)

United States Bankruptcy Court

SOUTHERN DISTRICT OF NEVADA

ln re BUR|SCH, DEBORAH
Debtor

, Case No.

 

Chapter 7

SUMM[ARY OF SCHEDULES

lndicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, l,
andJ in the boxes provided Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets Add the amounts of all
claims from Schedules D. E, and F to determine the total amount of the debtor’s liabilities lndividual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” ifthey file a case under chapter 7. 11, or 13.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ATTACHED
NAME OF SCHEDULE (YES/NO) NO. OF SHEETS ASSETS LlABlLlTlES OTHER
A - Real Property YES 1 $ O_OO
13 - Personal Property YES 3 $ 10 850 00
C - Property C|aimed ¥ES 1
as Exempt
D - Creditors Holding ¥ES 1 $ 16 138 00
Secured Claims ’ '
12 - Creditors Holding Unsecur€d 1 YES 1 ~ $ 0.00
Priority Claims ` 1
(Tota| of Claims on Schedule E) j
l
F - Creditors Holding Unsecured YES 1 1 l $ 34,580_68
NonpriOrity Claims - 3 z
G - Executory Contracts and l YES jj ’1
Unexpired Leases 1 .,
1 1
1
11- Codebtors l YES l 1 '
1 1
l- Current income of l YES v 'I , $ 2,003_54
lndividual Debtor(s) 1 l f
,‘ , 5
.| - Current Expenditures of lndividual j YES l 1 l $ 2,003.00
Debtors(s) l j t §§
.; 1
TO‘AL 22 $ 10,850.00 3 50,718.68

 

 

 

 

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B 6 Summary (Official Form 6 - Summary) (12/07)

United States Bankruptcy Court

SOUTHERN DISTRICT OF NEVADA

111 re BUR|SCH. DEBORAH , Case No.
Debtor

Chapter 7
STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

lfyou are an individual debtor whose debts are primarily consumer debts. as defined in § 101(8) ofthe Bankruptcy Code (l l U.S.C.
§ 101(8)). filing a case under chapter 7, l l or 13. you must report all information requested below

13 Check this box ifyou are an individual debtor whose debts are NOT primarily consumer debts You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schet|u|es, and total tli\:m.

 

 

 

 

 

 

 

Type of Liability Amount

Domestic support obligations (from schedule E) $ 0.00
Taxes and Certair. Other Deb';s O\ved to Governmenta| Units 5 0.00
(from Schedule E)

Claims for Death or Personal lnjury While Debtor Was 5 O_OO
lntoxicated (from Schedule E) (\vhether disputed or undisputed) `
Student Loan Obligations (from Schedule F) $ 0~00 l
Domestic Support, Separation Agreement, and Divorce Decree 3 0.00 l

()bligations Not Reported on Schedule E

 

 

 

 

 

Ob|igations to Pension or Profit-Sharirlg, and Other Similar 5 0.00 ij
Obligations (t`rom Schedule l~") l t
'ro"rAL 1 5 000
State the following:

 

Average lncorne (from Schedule 1. Line 16)

$ 2,003.00 1

 

 

 

 

 

 

 

 

 

 

 

 

l
Average Expenses (from Schedule l, Line 18) 5 2,003-54 :
Current Montltly lncoine (from Form 22A 1.ine 12; OR, Form l $ _0_54
22B Line ll; OR, Form 22C Line 20 ) 1` ‘,
State the following:
if
l. Total from Schedule D. “UNSECURED PORTION. lF § $ O_O()
ANY" column i
2. Total from Schedule E_ "AM()UNT EN'l`lTLED T() 3 g
PRlORITY"' column ;
3. Total from Schedule E, "AMOl,'NT NOT ENTll`LF_D 10 § $ 000
PRlORlTY, lF ANY" column §
4. Total from Schedule F , ' 5 34,58(),68
5. Total ofnon-priority unsecured debt (sum of l. 3. and 4) l $ 34,580_68 _

 

 

 

Case 14-12612-mkn

B6A (Off`lcial Form 6A) (12/07)

m re BuRlsCH, DEBoRAH

Debtor

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. lnclude any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,"
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

Unexpired Leases.

Ifan entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. lf no entity claims

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Case No.

 

SCHEDULE A - REAL PROPERTY

to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property

Claimed as Exempt.

(lf known)

 

LOCATION OF
PROPER'I'Y

DESCRIPTION AND

NA'I`URE OF DEBTOR’S
INTERES'I` IN PROPERTY

HUSBAND, WIFE, JOINT,

O|l COMMUNI'|'¥

CURREN'I` VALUE
OF DEBTOR’S
IN'I`ERES'I` IN
PROPERTY, Wl'l`HOUT
DEDUCTING ANY
SECURED CLAIM
OR EXEMP'I`ION

AMOUN'I' OF
SECURED
CLAIM

 

 

 

 

 

Total>
(Report also on Summary of Schedules.)

 

0.00

 

 

 

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B 6B (Official Form GB) (12/07)

,,, re BuRlsCt-i, DEBORAH , case No.
Debtor (lf known)

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. lf the debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” lf the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If` the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C. §l 12 and Fed. R. Bankr. P. 1007(m).

 

 

E- CURRENT VALUE OF
2 DEBTOR’S lNTEREST
N §§ lN PROPERTY, WlTH-
TYPE OF PROPERTY 0 DESCRIPTION AND LOCATION §§ OUT DEDUCTING ANY
N OF PROPERTY §§ SECURED CLAIM
E g OR EXEMPT[ON
z
l. Cash on hand. X
2. Checking, savings or other finan-
cial accounts, certificates of deposit CiTlBANK $O; ClTiBANK $8; CHASE $O;
or shares in banks, savings and loan, SiLVER STATE CU $O; MOUNTAIN AMERiCA
thrift building and ioaii, and home- sso; wEsTAR cu $o; AMER\cA FtRs'r 771-33
stead associations, or credit unions, $647_31; uSBANK $36_02
brokerage houses, or cooperatives
3. Security deposits with public util-
ities, telephone companies, land- X
lords, and others.
4. Household goods and fumishings,
including audio, video, and computer HOUSEHOLD GOODS 500_00
equipment.
5. Books; pictures and other art
objects; antiques; stamp, coin, X
record, tape, compact disc, and other
collections or collectibles.
6. Wearing apparel. CLOTHING 2(){)_()0

7. Furs and jewelry. X

8. Fireamts and sports, photo-
graphic, and other hobby equipment. X

9. Interests in insurance policies.
Name insurance company of each
policy and itemize surrender or X
refund value of each.

lO. Annuities. itemize and name
each issuer. )(

l l. Interests in an education lRA as
defined in 26 U.S.C. § 530(b)(l) or under
a qualified State tuition plan as defined in
26 U.S.C. § 529(b)(l ). Give particulars X
(File separately the record(s) of any such
interest(s). ll U.S.C. § 521(c).)

 

 

 

 

 

 

 

Case 14-12612-mkn

B 6B (Official Form 6B) (12/07) -- Cont.

In re BUR|SCH, DEBORAH

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Debtor (If known)
SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)
§` CURRENT vALUE or
st nEBToR’s rNTEREsT
N §§ IN PROPERTY, wmr-
TYPE or PROPERTY o nEsCRrPTroN AND LocATioN §§ our nEnUCTiNG ANY
N or PROPERTY §§ sECUREn CLAIM
E z 5 on ExEMPrioN

 

12. interests in lRA, ERlSA, Keogh, or
other pension or profit sharing plans.
Give particulars.

l3. Stock and interests in incorporated
and unincorporated businesses
ltemize.

14. interests in partnerships or joint
ventures ltemize.

15. Govemment and corporate bonds
and other negotiable and non-
negotiable instruments

16. Accounts receivable.

l7. Alimony, maintenance, support,
and property settlements to which the
debtor is or may be entitled. Give
particulars

18. Other liquidated debts owed to
debtor including tax refunds Give
particulars

l9. Equitable or future interests, life
estates, and rights or powers exercisable
for the benefit of the debtor other than
those listed in Schedule A- Real

Property.

20. Contingent and noncontingent
interests in estate of a decedent, death

21. Other contingent and unliquidated
claims of every nature, including tax
refunds, counterclaims of the debtor, and
rights to setoff claims Give estimated
value of each.

 

benefit plan, life insurance policy, or trust.

 

 

 

 

 

 

Case 14-12612-mkn

B 6B (Of`ficial Form 6B) (12/07) -- Cont.

lo re BUR|SCH, DEBORAH

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, Case No.
Debtor (If known)
(Continuation Sheet)
§ CURRENT VALUE OF
2 DEBTOR’S INTEREST
N §§ rN PROPERTY, erH-
TYPE OF PROPERTY 0 DESCRIPTION AND LOCATION §§ OUT DEDUC'I'ING ANY
N OF PROPERTY §§ SECURED CLAIM
E g OR EXEMPTION
z
22. Patents copyrights and other
intellectual property, Give particulars X
23. Licenses franchises and other general
intangibles Give particulars X
24. Customer lists or other compilations
containing personally identifiable
information (as defined in 11 U.S.C.
§ lOl(41A)) provided to the debtor by
individuals in connection with obtaining a X
product or service from the debtor
primarily for personal, family, or
household purposes
25. Automobiles trucks trailers D
and other vehicles and accessories 2010 DO GE CALIBER 10,000.00
26. Boats motors and accessories X
27. Aircraft and accessories x
28. Office equipment, fumishings,
and supplies X
29. Machinery, fixtures equipment,
and supplies used in business x
3°~ '“v°“‘°ry~ STORAGE uNtT 150.00
31. Animals. CAT 0.00
32. Crops - growing or harvested.
Give particulars X
33. Farming equipment and implements X
34. Farm supplies chemicals and feed. )(
35. Other personal property of any kind
not already listed. Itemize. X
0 continuation sheets attached Total> 10,850.00

(Include amounts from any continuation
sheets attached. Report total also orr
Summary of Schedules.)

 

 

 

Case 14-12612-mkn

B6C (Official Form 6C) (04/13)

[n re BUR|SCH, DEBORAH

 

Debtor

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:

(Check one box)
ll U.S.C. § 522(b)(2)
ij ll U.S.C. § 522(b)(3)

Case No.

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ll Check if debtor claims a homestead exemption that exceeds

$155,675.*

 

CURRENT

 

 

 

 

 

SPEClFY LAW VALUE OF VALUE OF PROPERTY
DESCR[PTION OF PROPERTY PROVlDING EACH CLAIMED WITHOUT DEDUCI`ING
EXEMP'I`ION EXEMPTION EXEMP'I`ION
2010 DODGE cALlBER NRs 21 .090F 10,000_00 10,000_00
HousEHoLn coons NRs 21.0905 500_00 500_00
cLorr-nNG NRs 21 .0905 200.00 200.00
cAT NRS 21 .0903 000 gm
sroRAGE NRs 21 .0905 150.00 150.00
~'~:';Ariv_,éccc>un'l€ \\ta§ 21¢,¢,@ ’1“11.3?> `1`"5?°

 

 

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment

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B 6D (Of`ficial Form 6D) (12/07)

In re BUR|SCH, DEBORAH , Case No,
Debtor (If known)

 

 

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens, gamishments, statutory liens mortgages deeds of trust, and other security interests

List creditors in alphabetical order to the extent practicable. lf a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X" in the column labeled “Codebtor," include the
entity on the appropriate schedule of creditors and complete Schedule H - Codebtors. lf a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "l-I,” “W," "J," or “C” in the column labeled "Husband, Wife,
Joint, or Community.”

lf the claim is contingent, place an “X” in the column labeled “Contingent." lf the claim is unliquidated, place an "X” in the column
labeled “Unliquidated.” lf the claim is disputed, place an “X” in the column labeled "Disputed." (You may need to place an "X” in more than one of
these three columns.)

Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and "Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

l:l Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR’S NAME AND § >‘ DATE CLAIM WAS [_, § AMOUNT OF CLAIM UNSECURED
MAILlNG ADDRESS g § z § INCURRED, § [- q WITHOUT PORTION, IF
INCLUDING ZIP CODE AND [- . o_ Z NATURE OF LI EN , (_'J § § DEDUCTING VALUE ANY
AN ACCOUNT NUMBER § q § 3 AND ..Z.. : § OF COLLATERAL
(see lnstructions Above.) 8 § 5 § r)EsCRrPTroN § g g
-]
o rig "> 8 AND VALUE OF 8 Z g
= PROPERTY D
SUBJECT TO LlEN
ACCOUNT N0640641203864 VEH|CLE LOAN
PEAK ACCEPTANCE POB 02/2013
975459 DALLAS TX 75397 16,138.00
VALUE $ 10,000.00
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
0 co tinuation sheets Subt°tal > $ $
_au§ched <T<>ral ofmispage) 16,138.00
mar > $ $
(Use only on last page) 16'138‘00
(Report also on Summary of (lf applicable, report
Schedules.) also on Statistical

Summary of Certain
Liabi|ities and Related
Data.)

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B6E (Official Form 6E) (04/13)

In re BuRlscH, DEBORAH , Case NO_
Debtor (ifknown)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. ln the boxes provided on the attached sheets state the name, mailing address
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name, See, l l U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors and complete Schedule H-Codebtors. lf a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community.” If the claim is contingent, place an "X" in the column labeled "Contingent." lf the claim is unliquidated, place an "X" in
the column labeled "Unliquidated." lf the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts n_ot entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all

amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

lzl Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
m Domestic Support Obligations
Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
ll U.S.C. § 507(a)(l).

m Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor’s business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. l l U.S.C. § 507(a)(3).

m Wages, salaries and commissions

Wages, salaries and commissions including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to 312,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in l l U.S.C. § 507(a)(4).

Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business whichever occurred first, to the extent provided in ll U.S.C. § 507(a)(5).

* Amount subject to adjustment on 4/()1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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B 6F (Of`f`icial Form 6F) (12/07)

In re burisch, deborah , Case No.

Debtor (`11` known)

 

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, includingzip code, and last fourdigits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition, The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor chi ld, by John Doe, guardian." Do not disclose the child's name. See, l l U.S.C. §l 12 and Fed.
R. Bankr. P, 1007(m). Do not include claims listed in Schedules D and E, If all creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H ~ Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated,”
lf the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

|I| Check this box if debtor has no creditors holdinLunsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

r.r.i
CREDITOR’S NAME, a ad z DATE CLAIM WAS E_‘ g AMOUNT OF
MAILlNG ADDRESS god B_ O § INCURRED AND Z pull CLAIM
INCLUDING ZIP CODE, § § E-: 2 CONSIDERATION FOR 3 § §
AND ACCOUNT NUMBER m < § 2 cLAIM. g 5 §
(See instructions above.) g 93 -w 8 ]F CLAIM IS SUB_]ECT TO § g g
O § SEroFF, so STATE. o -1 5
0 §
ACCOUNT NO.12Ch583 COLLECT'ONS FOR
FREMONT MED|CAL
§&T§CCT?§H§Y GROUP 1'2"'1°
2014
C/O BORG LAW GROUP
AccouNrN0.130013664 LlNE oF cREDlT
03/2013
ALL|ED COLLECT|ON 2,149.58
SERV|CES
3080 S DURANGO DR|VE S
ACCOUNT NO.6293 L|NE OF CRED|T
3/2014
CLARK COUNTY 0 1,000.00
COLLECT|ONS
8860 W SUNSET ROAD ST
ACCOuNT No. 42 MED|CAL
2
CLARK COUNTY 10/ 008 79.00
COLLECT|ONS
8860 W SUNSET ROAD ST
Subtotal> $
continuation sheets attached Total> $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

Case 14-12612-m|<n Doc 1 Entered 04/16/14 14:23:39 Page 23 of 68

B 6F (Of`ficial Fon'n 6F) (12/07) - Cont.

In re burisch, deborah , Case No.

 

Debtor (if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m.
CREDITOR’s NAME, z § z d DATE CLAIM wAs r_ g AMOUNT or
MAILlNG ADDRESS §§ , o § INCURRED AND § §§ § CLAIM

INCLUDING ZIP CODE, §§ § ["' 2 CONSIDERATION FOR § § 55
AND ACCOUNT NUMBER o § § § CLAIM. E_ 5 53
see instructions above.> 8 m ~ 8 IF CLAIM IS sUBJECT To § g 5

§ sEroFF, So STATE. o §

ACCOUNT NO. 206 MED|CAL

CAP|O PARTNERS 02/2014 295.00

2222 TEXOMA PARKWAY

STE 150

ACCOUNT NO. 8732 TELEpHONE

1

ENHANCED RECOVERY 0 /2014 104.00

8014 BAYBERRY ROAD

JACKSONV|LLE FL 32241

ACCOUNT NO. 63699210328 CHARGE ACCOUNT

WEBBANK/F|NGERHUT 01/2014 300.00

POB 1830

WARREN M| 48090

ACCOUNT NO. 224 MED|CAL

CLARK COUNTY 12/2013 1,657.00

COLLECT|ONS

8860 W SUNSET ROAD ST

ACCOUNT No. 1959 MED|CAL

WEST ASSET 11/2013 1,582.00

MANAGEMENT

2703 N H|GHWAY 75

Sheet no. of continuation sheets attached Subtotal> $

to Schedule of Creditors Holding Unsecured

Nonpriority Claims

Total> $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Cenain Liabilities and Related Data.)

 

 

 

Case 14-12612-m|<n Doc 1 Entered 04/16/14 14:23:39 Page 24 of 68

B 6F(Off`1cial Form 6F) (12/07)

[n re BOR|SCH, DEBORAH Case No.
DeHor (if known)

 

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition, The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name, See, l l U.S.C. §l l2 and Fed.
R. Bankr. P. lOO7(m). Do not include claims listed in Schedules D and E. lf all creditors will not fit on this page, use the continuation sheet provided.

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and Related Data..

D Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mh
cREDiToR’s NAME, 3 x § DATE cLAiM wAs [_ g AMoUNT oF
MAILlNG ADDRESS § an O § lNCURRED AND Z L[E CLAIM
INCLUDiNG zIP coDE, § § r~" 2 coNsiDERATioN FoR § § §
AND AccouNr NuMBER m <: § § cLAiM. § 5 ‘5
(See instructions above.) 3 a -. 8 IF CLAIM IS SUB]ECT TO § g a
<.> § sEToFF, so sTATE. 3 § 5
ACCOUNT N0.123712 MED|CAL
08/2012
AARGON AGENCY 815.00
8668 SPR|NG MOUNTA|N
ROAD
ACCOUNT NO. 165 MED|CAL
08/2013
CAP|O PARTNERS 2,539.00
2222 TEXOMA PARKWAY
STE 150
ACCOUNT No. 142 MED|CAL
04/2013
CAP|O PARTNERS 585.00
2222 TEXOMA PARKWAY
STE 150
ACCOUNT NO. 1449 MED|CAL
08/2013
DECA FlNANC|AL SERV|CE 59.00
POB 910
FlSHERS |N 46032
Subtotal> $
continuation sheets attached Total> $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

Case 14-12612-m|<n Doc 1 Entered 04/16/14 14:23:39 Page 25 of 68

B 6F (Official Form 6F) (12/07) ~ Cont.

[n re BOR|SCH, DEBORAH , Case No.

 

Debtor (if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

u.i
cREDITOR’s NAME, z § z § DATE CLAIM wAs [~ g AMOUNT 0F
MAILlNG ADDRESS g _ 0 § INCURRED AND § §§ § CLAIM
INCLUDING ziP CODE, § § P~" 2 CONSIDERATION FOR § § §
AND ACCOUNT NUMBER Q § § § CLAIM. [_' 5 §
(See instructions above.) 8 m ’_* 8 IF CLAIM IS SUBJECT TO § g 5
§ sETOFF, so sTATE. o §
ACCOUNT N0.1380000002771 CRED|T CARD
AMER|CA F|RST CRED|T 05/2013 400_00
UN|ON
POB 9199
ACCOUNT NO. 25668 MED|CAL
12/2 12
ALL|ED COLLECT|ON 0 1,171.00
SERV|CES
3080 S DURANGO DR|VE S
ACCOUNT No. 9A483 MED|CAL
CRED|T BUREAU CENTRAL 08/2012 35_00
POB 29299
LAS VEGAS, NEVADA 8912
ACCOUNT NO. 9A478 MED|CAL
2 1
CRED|T BUREAU CENTRAL 03/ 0 2 351 .00
POB 29299
LAS VEGAS, NEVADA 8912
ACCOUNT No. 9939 MED|CAL
02/2012
|C SYSTEMS 2,701.00
POB 64378
ST PAUL MN 55164
Sheet no. of continuation sheets attached Subtotal> $
to Schedule of Creditors Holding Unsecured
Nonpriority Claims
Total> $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

Case 14-12612-m|<n Doc 1 Entered 04/16/14 14:23:39 Page 26 of 68

B 6F (ofncial Form 6F) (12/07)

ln re BUR|SCH, DEBORAH , Case No.
Debtor (if known)

 

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last fourdigits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, l l U.S.C. §l 12 and Fed.
R. Bankr. P. lOO7(m). Do not include claims listed in Schedules D and E. lf all creditors will not fit on this page, use the continuation sheet provided.

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and Related Data..

lj Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m.
CREDITOR’s NAME, E z § DATE CLAIM wAs H g AMOUNT oF
MAlLING ADDRESS g B, O § INCURRED AND z g CLAlM
INCLUDING zIP CODE, 5 § § 2 CoNSIDERATloN FoR § § §
AND ACCOUNT NUMBER m <c § § CLAIM. g 5 5
(See instructions above.) 3 a »-. 8 1F CLAIM 15 SUBJECT TO § g §
O § sEToFF, so sTATE. o -1 5
0 §
ACCOUNT NO. 8791 MED|CAL
/2010
|C SYSTEMS 09 53.00
POB 64378
ST PAUL MN 55164
ACCOUNT N0.201123 UT|L|T¥
12/201 1
AARGON AGENCY 1,543.00
8668 SPR|NG MOUNTAIN
ROAD
ACCOUNT NO-93 LiNE oF cREDlT
10/201 1
CLARK COUNTY 632.00
COLLECT|ONS
8860 W SUNSET ROAD ST
ACCOUNT NO. D12906 UT|L|Ty
/2 11
KENNETH E|SEN & 08 0 1,416.00
ASSOC|ATES '
777 EM|SSOUR| AVENUE S
Subtotal> $
continuation sheets attached Total> $
(Use only on last page of the completed Schedule F,)
(Report also on Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

Case 14-12612-m|<n Doc 1 Entered 04/16/14 14:23:39 Page 27 of 68

B 6F (Ol`f`lcial Form 6F) (12/07) - Cont.

ln re BUR|SCH, DEBORAH , Case No.

 

Debtor (if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m.
CREDITOR’S NAME, x § ad d DATE CLAIM WAS H g AMOUNT OF
MAILlNG ADDRESS 2 . o 2 INCURRED AND § “[E § cLAIM
iNcLUDING ZIP coDE, §§ § § § CONSIDERATION FOR § § [5
AND ACCOUNT NUMBER Cl § 0 2 CLAIM. H 5 z
(See instructions abovc.) 8 m "‘ 8 lF CLAIM IS SUBJECT TO § g 5
§ SETOFF, So STATE. o §
ACCOUNT NO. 506 MED|CAL
06/201 1
PLUS FOUR |NC 20.00
POB 95846
LAS VEGAS, NEVADA 8919
ACCOUNT NO. 503 MED|CAL
02/201 1
PLUS FOUR |NC 233.00
POB 95846
LAS VEGAS, NEVADA 8919
ACCOUNT No. 504 MED|CAL
03/201 1
PLUS FOUR |NC 25.00
POB 95846
LAS VEGAS, NEVADA 8919
ACCOUNT NO. 225 MED|CAL
9/2007
PLUS FOUR |NC 0 11.00
POB 95846
LAS VEGAS, NEVADA 8919
ACCOuNT No. 230 MED|CAL
10/2007
PLUS FOUR |NC 35.00
POB 95846
LAS VEGAS, NEVADA 8919
Sheet no. of continuation sheets attached Subtotal> $
to Schedule of Creditors Holding Unsecured
Nonpriority Claims
Total> $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

Case 14-12612-m|<n Doc 1 Entered 04/16/14 14:23:39 Page 28 of 68

B 6F (Ol`f`icial Form 6F) (12/07)

ln re BUR|SCH, DEBORAH , Case NO.
Debtor (in;nOWnY

 

 

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
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address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, l l U.S.C. §112 and Fed.
R. Bankr. P. lOO7(m). Do not include claims listed in Schedules D and E. If all creditors will not tit on this page, use the continuation sheet provided.

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Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

Cl Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

uj .
CREDITOR’S NAME, § ad z DATE CLAIM WAS [_‘ g AMOUNT OF
MAlLING ADDRESS g , O § INCURRED AND z § CLAIM
INCLUDING ZlP CODE, § § [-'h 2 CONSIDERATION FOR 3 § rel
AND ACCOUNT NUMBER m < § 2 cLAlM. g 5 §
(See instructions above.) 3 § »-. 8 ]F CLA]M ]S SUBJECT TO § g §
0 § sEToFF, so sTATE. 8 § 5
ACCOUNT NO. 256 MED|CAL
03/2008
PLUS FOUR |NC ' 11.00
POB 95846
LAS VEGAS, NEVADA 8919
ACCOUNTN0,318 MED|CAL
02/2009
PLUS FOUR |NC 10.00
POB 95846
LAS VEGAS, NEVADA 8919
ACCOUNT NO. 302 MED|CAL
1 1/2008
PLUS FOUR |NC 59.00
POB 95846
LAS VEGAS, NEVADA 8919
ACCOUNT NO. 324 MED|CAL
O 20
PLUS FOUR |NC 3/ 09 70_00
POB 95846
LAS VEGAS, NEVADA 8919
Subtotal> $
continuation sheets attached Total> $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

Case 14-12612-m|<n Doc 1 Entered 04/16/14 14:23:39 Page 29 of 68

B 6F(Ofl`1cial Form 6F) (12/07) - Cont.

In re BUR|SCH, DEBORAH , Case No.

 

Debtor (if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mt
cREDlTOR’s NAME, z § z § DATE cLAlM WAS [~ g AMOUNT OF
MAILlNG ADDRESS g _ o § lNcURRED AND § §§ § cLAIM
INCLUDING ZIP CODE, § g E-7 2 CONSIDERATION FOR § § is
AND ACCOUNT NUMBER n § § z CLAlM. ; 5 §
<see instructions above.» 3 w ~ 3 IF cLAIM ls sUBJECT TO § g 5
§ sETOFF, so sTATE. 9 §
ACCOUNT NO. 505 MED|CAL
5/2 1
PLUS FOUR |NC 0 0 1 20.00
POB 95846
LAS VEGAS, NEVADA 8919
ACCOuNT NO. 347 MED|CAL
7/2
PLUS FOUR |NC 0 009 34_00
POB 95846
LAS VEGAS, NEVADA 8919
ACCOUNT No. 401 MED|CAL
2 1
PLUS FOUR |NC 03/ 0 0 10_00
POB 95846
LAS VEGAS, NEVADA 8919
ACCOUNT NO. 424 MED|CAL
7 2 1
PLUS FOUR |NC 0 l 0 0 59_00
POB 95846
LAS VEGAS, NEVADA 8919
ACCOuNT NO. 78 MED|CAL
12/201
CLARK COUNTY 0 161 .00
COLLECT|ONS
8860 W SUNSET ROAD ST
Sheet no. of continuation sheets attached Subtotal> $
to Schedule of Creditors Holding Unsecured
Nonpriority Claims
Total> $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary ot` Certain Liabilities and Related Data.)

 

 

 

Case 14-12612-m|<n Doc 1 Entered 04/16/14 14:23:39 Page 30 of 68

B 6F (Oi`f`lcial Form 6F) (12/07)

ln re BUR|SCH, DEBORAH , Case No.
Del;tor (if Enown)

 

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

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and Related Data..

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mi
CREDlToR’s NAME, § x § DATE CLAIM wAs [_ g AMOUNT 0F
MAILlNG ADDRESS g h o § INCURRED AND z E CLAIM
INCLUDING zlP coDE, § § t-" z coNsiDERATIoN FOR § § §
AND ACCOUNT NUMBER m < § 2 CLAIM. 5 5 5
<see instructions above.> § § _. 3 IF CLA[M 13 SUBJECT TO F'Z" g §
O § sEToFF, so sTATE. 3 § 5
ACCOUNT NO~275 LlNE oF cREDlT
12/2010
SMART FlNANCE 4,471.00
3105 E SAHARA AVENUE
LAS vEGAS, NEVADA 8910
ACCOUNT No. 391 1 APARTMENT LEASE
09/2011
SENTRY RECOVERY 3,291.00
3080 S DURANGO DR|VE
LAS VEGAS, NEVADA 8914
ACCOUNT NO~ 1479 coLLEchoNs FoR
BANK OF AMER|CA
CALVARY PORTFOL|O 06/2011 697.00
500 SUMM|T LAKE DR|VE
STE 400
ACCOUNT NO. 9A420 MED|CAL
10/2008
CRED|T BUREAU CENTRAL 36_00
POB 29299
LAS VEGAS, NEVADA 8912
Subtotal> $
continuation sheets attached Total> $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

Case 14-12612-m|<n Doc 1 Entered 04/16/14 14:23:39 Page 31 of 68

B 6F (Off`icial Form 6F) (12/07) - Cont.

[n re BUR|SCH, DEBORAH , Case No.

 

Debtor (if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mt
CREDlTOR’S NAME, m § x g DATE CLAIM WAS E-‘ g AMOUNT OF
MAILlNG ADDRESS 3 n O § INCURRED AND § §§ § CLAlM
1NCLUD1NG Z[P CODE, § § E-7 2 CONSIDERATION FOR § § §
AND ACCOUNT NUMBER D § § § CLAIM. [_. 5 33
(See instructions abovc.) 8 m '_‘ 8 lF CLAIM IS SUBJECT TO § g 5
§ sETOFF, so sTATE. w §
ACCOUNT NO. 3520 LOAN
GOLD ACCEPTANCE 09/2005
POB 1889
ORANGE CA 92856
ACCOuNT No. 3521 LOAN
05/2008
GOLD ACCEPTANCE 2,873.00
POB 1889
ORANGE CA 92856
ACCOUNT NO.T71OZTD004508 MED|CAL
1 2 08
CMRE FlNANC|AL 0/ 0 400.00
SERV|CES
3075 E lMPER|AL H|GHWA
ACCOUNT NO. 149 LOAN
10/2010
AD ASTRA RECOVERY 861 .OO
7330 W 33RD STREET
NORTH STE 118
ACCOUNT N0. 1 32438 LOAN
05
S|LVER STATE SCHOOLS 10/20
CRED|T UN|ON
4221 S MCLEOD DR|VE
Sheet no. of continuation sheets attached Subtotal> $
to Schedule of Creditors Holding Unsecured
Nonpriority Claims
Total> $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

Case 14-12612-m|<n Doc 1 Entered 04/16/14 14:23:39 Page 32 of 68

B 6F (Of`l`icial Form 6F) (12/07)

in re BUR|SCH, DEBORAH , Case No.
Debtor (if known)

 

 

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

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and Related Data..

l:| Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

m.
cREDIroR’s NAME, § z § DATE cLAlM wAS b q AMOUNT OF
MAlLING ADDRESS g _ o § iNcURRED AND z § cLAIM

lNcLUmNG ziP coDE, 5 § H 2 cONSIDERATION FOR § § §
AND ACCOUNT NUMBER m < § 2 cLAlM. 5 5 5
(See instructions above.) § g »-. 8 IF CLAIM IS SUBJECT TO § g 33
o § SETOFF, so STATE. o -1 5
° §
ACCOUNT N0.2 NSF FEES
2

BANK oF AMER|CA 03/ 008 400.00

4161 PlEDMONT PARKWAY

GREENSBORO NC 27410

ACCOUNT No.Y15 LOAN

ROYAL MANAGEMENT 05/2009

26254 |NTESTATE

CORP BAERNE Tx 78006

ACCOUNT NO.Y32 LOAN

3/20 9

ROYAL MANAGEMENT 0 0

26254 lNTESTATE

CORP BAERNE Tx 78006

ACCOUNT NO. /0§1/ YYZM @M/(

/ ,
§§ g r/1/6,30
SVcamcr/’ /L Zm/’ f

 

 

 

 

 

 

 

Subtotal> $

 

continuation sheets attached 'I`otal> $
(Use only on last page of the completed Schedule F.)

(Report also on Summary of Schedules and, if applicable, on the Statistical

Summary of Certain Liabilities and Related Data.)

 

 

 

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B 6G (Off`lcial Form 6G) (12/07)

ln re BUR|SCH, DEBORAH , Case No.
Debtor (if known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, l l U.S.C. §112 and
Fed. R. Bankr. P. lOO7(m).

m Check this box if debtor has no executory contracts or unexpired leases.

 

NAME AND MAlLING ADDRESS, DESCRIPTION OF CONTRACI` OR LEASE AND
INCLUDING ZIP CODE, NATURE OF DEBTOR’S INTEREST. STATE
OF OTHER PARTIES TO LEASE OR CONTRACT. WHETHER LEASE IS FOR NONRESIDENTIAL

REAL PROPERTY. STATE CONTRACT
NUMBER OF ANY GOVERNMENT CONTRACT.

 

 

 

 

 

 

 

 

 

 

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B 6H (Of`t`lcial Form 6H) (12/07)

In re BUR|SCH, DEBORAH , Case No.
Debtor (if known)

 

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If` the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, Calit`omia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. lf a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name, See, l l U.S.C. §l l2 and Fed. R. Bankr. P. lOO7(m).

m Check this box if debtor has no codebtors.

 

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

 

 

 

 

 

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Fill in this information to identify your case:

DEBORAH BUR|SCH

Fim Name Last Name

Debtor 1

 

Debtor 2
(Spouse, if tillng) First Name M'»ddle Name usa Name

 

United States Bankruptcy Court for the: SOUTHERN D|STR|CT OF NEVADA

Case number Check if this isf
(lf known)
m An amended filing

m A supplement showing post-petition
chapter 13 income as of the following date:

thcia| Form B 6| m
Schedule l: Your lncome 12/13

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supp|ylng correct information. |f you are married and not filing |ointly, and your spouse is living with you, include inforrnatlon about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (lf known). Answer every question.

m Describe Employment

1. Fill in your employment
informauon_ Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

lf you have more than one job,

attach a separate page with
information about additional Emp'°¥me"t status m EmP|°yed m EmPlOyed
employers. m Not employed m Not employed
|nc|ude part-time, seasona|, or
self-employed work.

occupau°n SALES AGENT

 

Occupation may |nc|ude student
or homemaker, if it applies.

Emp|°yer»s name H|LTON GRAND

 

EmP|°y€\"$ address 755 CROSSOVER LANE
Number Street Number Street

 

 

 

MEMPH|S TN 38117
city state zlP code city State zlP code

 

How long employed there? 3 YEARS

mflvo Dotails About Monthly lncome

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the space. |nc|ude your non-filing
spouse unless you are separated.

|f you or your non-filing spouse have more than one employer, combine the information for a|| employers for that person on the lines
below. lf you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. Llst monthly gross wages, salary, and commissions (before all payroll

 

 

deductions). |f not paid month|y, calculate what the monthly wage would be. 2. $ 2_509'50 $
_ 3. Estimate and llst monthly overtime pay. 34 + $ 0.00 + $
4. Ca|culate gross income. Add line 2 + line 3. 4_ $ 2.509.50 $

 

 

 

 

 

Officia| Form B 6| Schedule |: Your income page 1

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Debtor 1 DEBORAH BUR|SCH Case number (ilkncwn)
Firm Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
copy line 4 here ............................................................................................ -) 4. $ 2.509-50 $
5. List all payroll deductions:
5a Tax, Medicare, and social security deductions 5a $ 203-12 s
5b. Mandatory contributions for retirement plans 5b. $ O-OO $
Sc. Voluntary contributions for retirement plans 5c. $ O'OO $
5d. Requlred repayments of retirement fund loans 5d. $ O'OO $
5e. insurance 5e. $ O~OO $
5f. Domestic support obligations 5f. $ 0.00 $
59. Union dues 59. $M $
5h. Other deductions. Specify: GARN|SHMENT 5h. +$ 597.84 + $
e. Add the payroll deductions Add lines 5a + 5b + sc + sd + se +5f + 59 +5h. 6. $ 805-96 $
7. Ca|culate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 1'703~54 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0_00 $
monthly net income. Sa. __
8b. interest and dividends 8b. $ 0.00 $
Sc. Fami|y support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal suppolt, child suppolt, maintenance, divorce $ 0,00 $
settlement, and property settlement Sc. _-
8d. Unemployment compensation 8d. $M_ $
8e. Socia| Security 8e4 $ 300.00 $
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benents under the Supp|emental $ 0-00 $
Nutn'tion Assistance Program) or housing subsidies
Spec'ify: 8f.
89. Pension or retirement income 89. $ o-OO $
8h. Other monthly income. Specify: 8h. + $ 0.00 + $
9. Add all other income. Add lines 8a + 8b + 8c + ad + se + sf+sg + an 9. $ 300-00 $
10.Ca|cu|ate monthly income. Add line 7 + line 9. 2 4
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $_ZM + $ $ `003'5
11. State all other regular contributions to the expenses that you list in Schedule J.
|nc|ude contributions from an unmarried partner, members of your househo|d, your dependents, your roommates, and
other fn'ends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule ./.
Specify: 11_ + $ 0.00
12. Add the amount ln the last column of line 10 to the amount in line 11. The result is the combined monthly income. 2 003 54
Wn'te that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12. $_‘.____;__
Comblned

13.D you expect an increase or decrease within the year after you file this form?
No.

 

 

 

monthly income

 

 

 

m Yes. Explain:

 

Ofncial Form B 6| Schedule l: Your income

page 2

 

 

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Fill in this information to identify your case:

Debtor 1 DEBORAH BuRiscii _ _ _
First Name Middlc Name Lnst Name Check |f th|S |SI

Debtor 2 .
(Spouse. if tiling) First Name Middle Name Last Name E An amended mmg

m A supplement showing post-petition chapter 13
expenses as of the following date:

 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF NEVADA

 

 

 

Case number m
(lf known)
m A separate filing for Debtor 2 because Debtor 2
. maintains a separate household
Ochial Form B 6J
Schedule J: Your Expenses 12113

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe ¥our Household

1. ls this a joint case?

No. Go to line 2.

m Yes. Does Debtor 2 live in a separate househo|d?

lite

m Yes. Debtor 2 must file a separate Schedule J.

 

 

 

 

 

 

 

 

2. Do you have dependents? m No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and Yes. Fill cut this information rcr Debwri or Debtor 2 ace with your
Debtor 2. each dependent .......................... §
NO
Do not state the dependents’ DAUGHTER 1 1
names. Yes
[:l No
m Yes
m No
Yes
m No
Yes
m No
m Yes
3. Do your expenses include m No

expenses of people other than
yourself and your dependents? m Yes

m Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed, if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value

of such assistance and have included it on Schedule I: Your Income (Offlcia| Form B 6|.) Y°\" expenses

4. The rental or home ownership expenses for your residence. include first mortgage payments and
any rent for the ground or iot. 4. $_--§§§199-
if not included in line 41
4a. Real estate taxes 4a. $ 0'00
4b. Property, homeowner’s, or renter’s insurance 4b. $ 0'00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner’s association or condominium dues 4d. $ 0.00

Official Form B 6J Schedule J: Your Expenses page 1

Debtor 1

10.
11.

12.

13.
14.

15.

16.

17.

18.

19.

20.

Official Form B 6J

Case 14-12612-ml<n

DEBORAH
Fiist Name

BUR|SCH

 

Middle Name Las Name

. Additlonal mortgage payments for your residence, such as home equity loans

. Utl|lt|es:

6a. E|ectricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, lnternet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Chl|dcare and children’s education costs

. Clothlng, laundry, and dry cleaning

Personal care products and services
Medlcal and dental expenses

Transportatlon. include gas, maintenance, bus or train fare.
Do not include car payments.

Entertalnment, clubs, recreation, newspapers, magazines, and books

Charitab|e contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15a. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c. Other. Specify:

 

17d. Other. Specify:

 

Case number (irtncmr)

Your payments of alimony, maintenance, and support that you did not report as deducted

from your pay on line 5, Schedule l, Your Income (Officlal Form B 6|).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Moitgages on other property

20b. Real estate taxes

20c. Property, homeowners, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20a. Homeowner’s association or condominium dues

Schedule J: Your Expenses

6a.
6b.

6d.

10.
11.

12,
13.
14.

15a.
15b.
15c.
15d.

16.

17a.
17b.
17c.

17d.

18.

19.

20a.
20b.
20c.
20d.
20e.

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Your expenses

 

$ 0.00

$__._1_511.9£)_
s o co
$______35.00_
s___doo_
s_M
s o co
$___0_00_
s___dnn_
s o 00

$ ZQQ.QQ

$ Q.QQ
$ Q,QQ

$_O-OO_
s Q,QQ
s 130.00
$___Q.QO_

s___QM_

$_JZ&QD_
s o co

s__OM_
$_0.0_O_

$ 0.00

$___M

$ film
$ ll fill
$_Q.QQ_
$ il fill
$ (),(lll

page 2

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DEBORAH BUR|SCH Case number (irknownl

Debtor 1
First Name M'ldd|e Name Lest Name

21. Other. Specify:

 

 

 

 

 

 

 

 

 

 

No.

mYes. Explain here:

 

21. +$ 0.00
22. Your monthly expenses. Add lines 4 through 21. $ 2 003_00
The result is your monthly expenses. 22.
23. Ca|culate your monthly net income.
. . . 5 2,003.54
23a. Copy line 12 (your combined monthly lncome) from Schedule I. 23a.
23b. Copy your monthly expenses from line 22 above. 23b. _ 5 2,003.00
23a. Subtract your monthly expenses from your monthly income. _0 54
The result is your monthly net income. 23c. $ '
24. Do you expect an increase or decrease in your expenses within the year after you f`l|e this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
page 3

Official Form B 6J Schedule J: Your Expenses

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B6 Declaration (Oi’f'lcial Form 6 - Declaration) (12/07)

[n re BUR|SCH, DEBORAH , Case No.

Debtor (if known)

 

DECLARATION CONCERNING DEBTOR’S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that l have read the foregoing summary and schedules, consisting of_ sheets, and that they are true and correct to the best of
my knowledge, inforrnation, and belief

titlmnh</Pzwubc£

Debtor

 

Date Signature:

 

(Joint Debtor, if any)

[lfjoint case, both spouses must sign.]

 

DECLARAT[ON AND SlGNATURE OF NON-ATTORNEY BANKRUPTCY PETITlON PREPARER (See ll U.S.C. § 110)

I declare under penalty of perjury that: (l) l am a bankruptcy petition preparer as defined in l l U.S.C. § l 10; (2) l prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under ii U,S.C. §§ l 10(b), l 10(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 1 l U.S,C, § l 10(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section,

 

MAGG|E STR|CKLAND 530410652
Printed or Typed Name and Title, if any, Social Security No.
of Bankruptcy Petition Preparer (Required by l l U.S.C. § 110.)

If tile bankruptcy petition preparer is not an individual, state the name, title (ifany), address, and social security number of tile otficer, principal, responsible person, or partner
who signs this document

720 E CHARLESTON BLVD
STE 140 LAS VEGAS

NEVADA 89 04
/l/ l 04/12/2014

Signature of Bankruptcy Petition Pieparer Date

    

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individuals

lf more titan one person prepared this document, attach additional signed sheets conforming to the appropriate Oj'icial Form for each person,

A bankruptcy petition preparer's failure to comply with the provisions of title ll and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. ll U.S.C. § l l0;
18 U.S.C. § 156.

 

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORAT[ON OR PARTNERSHIP

 

 

I, the [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of sheets (Total shown on summary page plus l), and that they are true and correct to the best of my

knowledge, information, and belief.

Date

 

Signature:

 

 

[Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

 

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C, §§ 152 and 3571.

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B7 (Official Form 7) (04/13)

UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF NEVADA

rn re; BUR|SCH, DEBORAH Case No.
Debtor (if known)

 

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor, Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must fumish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, farnin farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name, See, ll U.S.C.
§112 and Fed. R. Bankr. P. lOO7(m).

Questions l - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If' the answer to an applicable question is "None," mark the box labeled "None." lf
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number ( if known), and the number of the question.

DEFINITIONS

"In business " A debtor is "in business” for the purpose of this form if the debtor is a corporation or partnership An
individual debtor is "in business” for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed hill-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

"Insider. " The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their reiatives; corporations of which the debtor is an officer, director, or person in control; of`ficers, directors, and any persons in
control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
the debtor, ll U.S.C. § 101(2), (31).

 

l. income from employment or operation of business

Ncne State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
the debtor’s business, including part-time activities either as an employee or in independent trade or business, from the
beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
of the debtor’s fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

$15'334-96 2014 YTD lNcolle; $77813.00 - 2013 lNColle; $51229.00 - 2012
lNcoME

 

 

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B7 (Official Form 7) (04/13)

2. Income other than from employment or operation of business

None State the amount of income received by the debtor other than from employment, trade, profession, operation of the

debtor’s business during the two years immediately preceding the commencement of this case, Give particulars. If a
joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

AMOUNT SOURCE

 

3. Payments to creditors

Complete a. or b., as appropria!e, and c.

None

a. Individual or joint debtor(s) with primarin consumer debts.' List all payments on loans, installment purchases of
goods or services, and other debts to any creditor made vw'thin 90 days immediately preceding the commencement of
this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
PAYMENTS PAID STILL OWING

None

b. Debtor whose debts are not primarin consumer debts.l List each payment or other transfer to any creditor made
within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
constitutes or is affected by such transfer is less than $6,225°. If the debtor is an individual, indicate with an asterisk
(*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
PAYMENTS/ PAID OR STILL
TRANSFERS VALUE OF OWING
TRANSFERS

 

*
Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or
afer the date of adjustment.

B7 (Of`ficial Form 7) (04/13)

None

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c. All debtors: List all payments made within one year immediately preceding the commencement of this case
to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must

include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATE OF AMOUNT AMOUNT
AND RELATIONSHIP TO DEBTOR PAYMENT PAID STILL OWING

 

4. Suits and administrative proceedings, executions, garnishments and attachments

None a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
and a joint petition is not filed.)

CAPTION OF SUIT NATURE OF COURT OR AGENCY STATUS OR

AND CASE NUMBER PROCEEDING AND LOCATION DlSPOSlTlON
12CH583 CLARK COUNTY ClVlL SUlT HENDERSON JUST|CE PEND|NG
COLLECT|ONS COURT

None

b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DATE OF DESCRIPTION
OF PERSON FOR WHOSE SEIZURE AND VALUE
BENEFIT PROPERTY WAS SEIZED OF PROPERTY

 

None

5. Repossessions, foreclosures and returns

List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DATE OF REPOSSESS!ON, DESCRIPTION
OF CREDITOR OR SELLER FORECLOSURE SALE, AND VALUE
TRANSFER OR RETURN OF PROPERTY

 

 

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B7 (Of`ficial Form 7) (04/13) 4
6. Assignments and receiverships
a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
/

commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not

 

filed.)
NAME AND ADDRESS DATE OF TERMS OF
OF ASSIGNEE ASSlGNMENT ASSlGNMENT
OR SETTLEMENT
None b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year

immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

 

NAME AND ADDRESS NAME AND LOCATlON DATE OF DESCRIPT[ON
OF CUSTODIAN OF COURT ORDER AND VALUE
CASE TITLE & NUMBER Of PROPERTY
7. Gifts
None List all gifts or charitable contributions made within one year immediately preceding the commencement of this case

except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
and charitable contributions aggregating less than $lOO per recipient. (Married debtors filing under chapter 12 or
chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

 

NAME AND ADDRESS RELATIONSHIP DATE DESCRIPTION

OF PERSON TO DEBTOR, OF GIFT AND VALUE

OR ORGANIZATION lF ANY OF GIFT

8. Losses
t ..- List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
of this case or since the commencement of this case. (Married debtors filing tmder chapter 12 or chapter 13 must

include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

DESCRIPTION DESCRIPTION OF CIRCUMSTANCES AND, IF DATE
AND VALUE OF LOSS WAS COVERED IN WHOLE OR IN PART OF LOSS
PROPERTY BY INSURANCE, GIVE PARTICULARS

 

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9. Payments related to debt counseling or bankruptcy
None List all payments made or property transferred by or on behalf of the debtor to any persons, including attomeys, for

consultation conceming debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
within one year immediately preceding the commencement of this case.

 

 

NAME AND ADDRESS DATE OF PAYMENT, AMOUNT OF MONEY OR
OF PAYEE NAME OF PAYER IF DESCRIPTION AND
OTHER THAN DEBTOR VALUE OF PROPERTY
MAGG|E STR|CKLAND 720 E 04/11/2014 ZO0.00

CHARLESTON BLVD STE 140
LAS VEGAS NV 89104

 

10. Other transfers

None

a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DATE DESCRIBE PROPERTY
OF TRANSFEREE, TRANSFERRED AND
RELATIONSHIP TO DEBTOR VALUE RECEIVED

None

b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
to a self-settled trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER DATE(S) OF AMOUNT OF MONEY OR DESCRIPTION ,-
DEVICE TRANSFER(S) AND VALUE OF PROPERTY OR DEBTOR’S §
INTEREST IN PROPERTY ~

 

ll. Closed financial accounts

None List all financial accounts and instruments held in the name of the debtor or for the benth of the debtor which were

closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. lnclude
checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
institutions. (Mam`ed debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and ajoint petition is not filed.)

NAME AND ADDRESS TYPE OF ACCOUNT, LAST FOUR AMOUNT AND
OF INSTITUTION DIGITS OF ACCOUNT NUMBER, DATE OF SALE
AND AMOUNT OF FINAL BALANCE OR CLOSING

 

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12. Safe deposit boxes

t .. List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables

w within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

 

NAME AND ADDRESS NAMES AND ADDRESSES DESCRIPTION DATE OF TRANSFER

 

 

 

OF BANK OR OF THOSE WITH ACCESS OF OR SURRENDER.,

OTHER DEPOSITORY TO BOX OR DEPOSITORY CONTENTS IF ANY

13. Setoffs
Nn- List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information

 

concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

NAME AND ADDRESS DATE OF AMOUNT
OF CREDITOR SETOFF OF SETOFF

 

14. Property held for another person

None List all property owned by another person that the debtor holds or controls.

NAME AND ADDRESS DESCRIPTION AND LOCATION OF PROPERTY
OF OWNER VALUE OF PROPERTY

 

15. Prior address of debtor

None

If debtor has moved within three years immediately preceding the commencement of this case, list all premises
which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
filed, report also any separate address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

 

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None

16. Spouses and Former Spouses

If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of

any former spouse who resides or resided with the debtor in the community property state.

NAME

DANNY BUR|SCH, DlVORCED 05/2009

 

None

None

None

17. Environmental lnformation.
For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
formerly owned or operated by the debtor, including, but not limited to, disposal sites.

"l-lazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
material, pollutant, or contaminant or similar term under an Environmental Law.

a. List the name and address of every site for which the debtor has received notice in writing by a governmental
unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
governmental unit, the date of the notice, and, if known, the Environmental Law:

SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
to the proceeding, and the docket number,

NAME AND ADDRESS DOCKET NUMBER STATUS OR
OF GOVERNMENTAL UNIT DISPOSITION

 

None

18 . Nature, location and name of business

a. lf the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or

 

 

 

 

 

 

 

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None

other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
the commencement of this case.

[f the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
voting or equity securities, within six years immediately preceding the commencement of this case.

[f the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
voting or equity securities within six years immediately preceding the commencement of this case.

NAME LAST FOUR DIGITS ADDRESS NATURE OF BUSINESS BEGINNING AND
OF SOCIAL-SECURITY ENDING DATES
OR OTHER INDIVIDUAL
TAXPAYER-I.D. NO.
(ITIN)/ COMPLETE EIN

b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
defined in ll U.S.C. § 101.

NAME ADDRESS

 

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual

debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in

business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)

 

19. Books, records and financial statements

a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS DATES SERVICES RENDERED

b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
case have audited the books of account and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVICES RENDERED

 

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None c. List all firms or individuals who at the time of the commencement of this case were in possession of the
books of account and records of the debtor. If any of the books of account and records are not available, explain.

NAME ADDRESS

 

None d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

 

NAME AND ADDRESS DATE ISSUED

 

 

20. Inventories

 

None a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
taking of each inventory, and the dollar amount and basis of each inventory,

 

DATE OF INVENTORY INVENTORY SUPERVISOR DOLLAR AMOUNT
OF INVENTORY
(Specif`y cost, market or other basis)

None b. List the name and address of the person having possession of the records of each of the inventories reported
in a., above.
DATE OF INVENTORY NAME AND ADDRESSES
OF CUSTODIAN
OF INVENTORY RECORDS

 

21 . Current Partners, Officers, Directors and Shareholders

None a. lf the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
partnership,
NAME AND ADDRESS NATURE OF lNTEREST PERCENTAGE OF INTEREST
None b. lf the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
corporation.
NATURE AND PERCENTAGE

NAME AND ADDRESS TITLE OF STOCK OWNERSHIP

 

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22 . Former partners, officers, directors and shareholders

 

None a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
preceding the commencement of this case.

NAME ADDRESS DATE OF WITHDRAWAL

 

None b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
within one year immediately preceding the commencement of this case.

NAME AND ADDRESS TITLE DATE OF TERMINATION

 

23 . Withdrawals from a partnership or distributions by a corporation

None If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
during one year immediately preceding the commencement of this case.

NAME & ADDRESS DATE AND PURPOSE AMOUNT OF MONEY
OF RECIPIENT, OF WITHDRAWAL OR DESCRIPTION
RELATIONSHIP TO DEBTOR AND VALUE OF PROPERTY

 

24. Tax Consolidation Group.
None If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
consolidated group for tax purposes of which the debtor has been a member at any time within six years

immediately preceding the commencement of the case.

NAME OF PARENT CORPORATION TAXPAYER-IDENTIFICATION NUMBER (EIN)

 

25. Pension Funds.
None lf the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
preceding the commencement of the case.

NAME OF PENSION FUND TAXPAYER-IDENTlFICATION NUMBER (EIN)

******

[ If completed by an individual or individual and spouse]

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B7 (Official Form 7) (04/13) 11

I declare under penalty of perjury that l have read the answers contained in the foregoing statement of financial affairs
and any attachments thereto and that they are true and correct,

/
Date 04/12/2014 signatureomebwr l/\,VM W(/Z

Date Signature of Joint Debtor (if any)

 

 

[ if completed on behalf of a partnership or corporation ]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct to the best of my knowledge, information and belief

Date Signature

 

Pn`nt Name and Title

 

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

_continuation sheets attached

Penaltyfor making a false statements Fine of up lo $500,000 ar imprisonment for up 10 5 years, ar both. 18 U.S.C. §§ 152 and 35 71

 

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITlON PREPARER (See ll U.S.C. § 110)

1 declare under penalty of perjury that: (1) l am a bankruptcy petition preparer as defined in l l U.S,C. § l 10; (2) 1 prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under ll U.S.C, §§ llO(b), l lO(h), and
342(b); and, (3) if rules or guidelines have been promulgated pursuant to l l U.S.C. § l 10(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from
the debtor, as required by that section.

MAGG|E STR|CKLAND 530410652
Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social-Security No. (Required by 1 l U.S.C. § l 10.)

 

if the bankruptcy petition preparer is not an individual, state the name, title (ifany), address, and social-security number of the officer, principal,
responsible person, or partner who signs this document

720 E CHARLESTON BLVD STE 140 LAS
VEGAS NEVADA 89104

l:TW}I// (//// //M/) /U 04/12/2014

Signatuie of Bankruptcy Petitioli Preparer Date

 

Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

lf more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy petition preparer's failure to comply with the provisions of title II and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.

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B 8 (Of`ficial Form 8) (12/08)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEVADA

In re BUR|SCH, DEBORAH , Case No.
Debtor Chapter 7

CHAPTER 7 INDIVIDUAL DEBTOR’S STATEMENT OF INTENTION

 

PART A - Deth secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 

 

Property No. 1
Creditor's Name: Describe Property Securing Debt:
PEAK ACCEPTANCE LLC 2010 DODGE CAL|BER

 

 

Property will be (check one)j
ij Surrendered 131 Retained

lf retaining the property, I intend to (check at least one):

ij Redeem the property

at Reafnrm the debt

13 Other. Explain (for example, avoid lien
using 11 U.S.C. § 522(f)).

 

Property is (check one):
Claimed as exempt 13 Not claimed as exempt

 

 

Property NO. 2 (ifnecessary)

 

Creditor's Names Describe Property Securing Debt:

 

 

Property Will be (check one)l
13 Surrendered Cl Retained

lf retaining the property, 1 intend to (check at least one):

ij Redeem the property

ij Reaffirm the debt

Cl Other. Explain (for example, avoid lien
using 11 U.S.C. § 522(f)).

Property is (check one)f
13 Claimed as exempt ij Not claimed as exempt

 

 

 

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B 8 (Official Form 8) (12/08) Page 2

PART B - Personal property Subjeet tO unexpired leaSeS. (All three columns of Part B must be completed for
each unexpired lease. Attach additional pages if necessaiy.)

 

 

 

 

 

 

 

 

 

Property No. 1

Lessor’s Name: Describe Leased Property: Lease will be Assumed pursuant
to 11 U.S.C. § 365(p)(2):
111 YES El NO

Property NO. 2 (lfnecessary)

Lessor’s Name: Describe Leased Property: Lease will be Assumed pursuant
to 11 U.S.C. § 365(p)(2):
13 YES El NO

Property No. 3 (rfnecessary)

Lessor’s Name: Describe Leased Property: Lease will be Assumed pursuant
to ll U.S.C. § 365(p)(2):
El YES 13 NO

 

 

 

 

continuation sheets attached (ifany)

I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.

Date; 04/12/2014 'f/€YP/l/&Q~

Signature of Debtor

 

 

 

Signature of Joint Debtor

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B22A (Official Form 22A) (Chapter 7) (04/13)

 

 

In re BURlSCH, DEBORAH According to the information required to be entered on this statement
Debtor(s) (check one box as directed in Part I, III, or VI of this statement):
_ The presumption arises.
Case Number’ §The presumption does not arise.

(lf known) l:]The presumption is temporarily inapplicable.

 

 

 

CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
AND MEANS-TEST CALCULATION

In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions
in Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should
complete separate statements if they believe this is required by § 707(b)(2)(C).

 

Part I. MILITARY AND NON-CONSUMER DEBTORS

 

lA

Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
complete the verification in Part VIII. Do not complete any of the remaining parts of this statement

l:l Declaration of Disabled Veteran. By checking this box, l declare under penalty of perjury that l am a disabled veteran
(as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty
(as defined in 10 U,S.C, § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C.
§901(1)).

 

lB

Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
verification in Part VIII, Do not complete any of the remaining parts of this statement

l:l Declaration of` non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts,

 

lC

 

 

Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C,

§ 101(d)(1)) after September ll, 2001, for a period of at least 90 days, or who have performed homeland defense activity
(as defined in 32 U.S,C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
to complete the balance of this form, but you must complete the form no later than 14 days after the date on which
your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
case before your exclusion period ends.

l:l Declaration of` Reservists and National Guard Members. By checking this box and making the appropriate entries
below, I declare that l am eligible for a temporary exclusion from means testing because, as a member of a reserve
component of the Armed Forces or the National Guard

a, l:l I was called to active duty after September ll, 2001, for a period of at least 90 days and

l:l 1 remain on active duty /or/

l:l 1 was released from active duty on , which is less than 540 days before
this bankruptcy case was filed;

OR

b. l:l I am performing homeland defense activity for a period of at least 90 days /or/
m 1 performed homeland defense activity for a period of at least 90 days, terminating on
, which is less than 540 days before this bankruptcy case was filed,

 

 

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B 22A (Official Form 22A) (Chapter 7) (04/13)

 

Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION

 

a. MUnmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.

Complete only Column A (“Debtor’s Income”) for Lines 3-11.
Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.

Lines 3-11.

Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

b. ij Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
2 are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”

c. ij Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both

d. l:l Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for

 

All figures must reflect average monthly income received from all sources, derived during Column A
the six calendar months prior to filing the bankruptcy case, ending on the last day of the Debtor’s
month before the filing. If the amount of monthly income varied during the six months, you

Income
must divide the six-month total by six, and enter the result on the appropriate line.

Column B
Spouse’s
Income

 

3 Gross wages, salary, tips, bonuses, overtime, commissions. $ 2,509.50 $

 

Income from the operation of a business, profession or farm. Subtract Line b from Line a
and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
business, profession or farm, enter aggregate numbers and provide details on an attachment
Do not enter a number less than zero. Do not include any part of the business expenses

4 entered on Line b as a deduction in Part V.

 

a. Gross receipts $

 

b. Ordinary and necessary business expenses $

 

 

 

 

 

c. Business income Subtract Line b from Line a $ 0_00 $

 

Rent and other real property income. Subtract Line b from Line a and enter the difference
in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
any part of the operating expenses entered on Line b as a deduction in Part V.

 

5 a. Gross receipts $

 

b. Ordinary and necessary operating expenses $

 

 

 

 

 

c. Rent and other real property income Subtract Line b from Line a $ 0_00 $

 

6 Interest, dividends and royalties. $ 0.00 $

 

Pension and retirement income. $ 0.00 $

 

Any amounts paid by another person or entity, on a regular basis, for the household
expenses of the debtor or the debtor’s dependents, including child support paid for that
8 purpose. Do not include alimony or separate maintenance payments or amounts paid by
your spouse if Column B is completed. Each regular payment should be reported in only one

column; if a payment is listed in Column A, do not report that payment in Column B. $ 0.00 $

 

Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
However, if you contend that unemployment compensation received by you or your spouse
was a benth under the Social Security Act, do not list the amount of such compensation in
9 Column A or B, but instead state the amount in the space below:

 

Unemployment compensation claimed to

 

 

 

 

 

 

 

 

be a benefit under the Social Security Act Debtor $ Spouse $ $ 0.00 $

 

 

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B 22A (Official Form ZZA) (Chapter 7) (04/13)

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10

Income from all other sources. Specify source and amount. If necessary, list additional
sources on a separate page. Do not include alimony or separate maintenance payments
paid by your spouse if Column B is completed, but include all other payments of
alimony or separate maintenance. Do not include any benefits received under the Social
Security Act or payments received as a victim of a war crime, crime against humanity, or as a
victim of international or domestic terrorism.

a. $
b. $

 

 

 

 

 

 

 

Total and enter on Line 10 $ 0.00

 

11

Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).

 

$ 2,509.50

 

12

Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
Line ll, Column A to Line 1 1, Column B, and enter the total. If Column B has not been
completed, enter the amount from Line 11, Column A. $

 

2,509.50

 

Part III. APPLICATION OF § 707(b)(7) EXCLUSION

 

13

Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
12 and enter the result.

$ 30,1 14.00

 

14

Applicable median family income. Enter the median family income for the applicable state and household
size. (This information is available by family size at www.usdoi.gov/ust/ or from the clerk of the
bankruptcy court.)

a. Enter debtor’s state of residence: NV b. Enter debtor’s household size: 2

 

$ 60,449.00

 

15

 

 

Application of Section 707(b)(7). Check the applicable box and proceed as directed.

ll The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does
not arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.

[] The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

 

Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

 

Part IV. CALCULA'I`ION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

 

16

Enter the amount from Line 12.

$ 2,509.50

 

17

Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
debtor’s dependents, Specify in the lines below the basis for excluding the Column B income (such as
payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s
dependents) and the amount of income devoted to each purpose. Ifnecessary, list additional adjustments on
a separate page, If you did not check box at Line 2.c, enter zero.

a. $
b. $
c. $

Total and enter on Line 17.

 

 

 

 

 

 

 

 

 

$ 0.00

 

 

18

 

Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.

 

$ 2,509.50

 

 

 

 

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Part V. CALCULATION OF DEDUCTIONS FROM INCOME

 

Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

 

19A

National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
National Standards for Food, Clothing and Other Items for the applicable number of persons. ('l`his
information is available at www.usdo'|.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
number of persons is the number that would currently be allowed as exemptions on your federal income tax
retum, plus the number of any additional dependents whom you support

$

985.00

 

19B

National Standards: health care. Enter in Line al below the amount from IRS National Standards for Out-
of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
of-Pocket Health Care for persons 65 years of age or older. ('l`his information is available at
www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
years of age or older. ('l`he applicable number of persons in each age category is the number in that category
that would currently be allowed as exemptions on your federal income tax retum, plus the number of any
additional dependents whom you support.) Multiply Line al by Line b1 to obtain a total amount for persons
under 65, and enter the result in Line cl. Multiply Line a2 by Line b2 to obtain a total amount for persons 65
and older, and enter the result in Line 62. Add Lines cl and c2 to obtain a total health care amount, and
enter the result in Line 19B.

 

Persons under 65 years of age Persons 65 years of age or older

 

al. Allowance per person 60.00 a2. Allowance per person

 

bl. Number of persons 2 b2. Number of persons

 

cl. Subtotal 60.00 c2. Subtotal

 

 

 

 

 

 

 

120.00

 

20A

Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
Utilities Standards; non-mortgage expenses for the applicable county and family size. ('l`his information is
available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size
consists of the number that would currently be allowed as exemptions on your federal income tax retum, plus
the number of any additional dependents whom you support

$

1,936.00

 

20B

Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable
family size consists of the number that would currently be allowed as exemptions on your federal income tax
retum, plus the number of any additional dependents whom you support); enter on Line b the total of the
Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from
Line a and enter the result in Line ZOB. Do not enter an amount less than zero.

 

IRS Housing and Utilities Standards; mortgage/rental expense $

 

b. Average Monthly Payment for any debts secured by your home,
if any, as stated in Line 42 $

 

 

 

 

 

c. Net mortgage/rental expense Subtract Line b from Line a.

0.00

 

21

 

 

Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
and 203 does not accurately compute the allowance to which you are entitled under the IRS Housing and
Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
your contention in the space below:

 

0.00

 

 

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Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
regardless of whether you use public transportation,

Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
are included as a contribution to your household expenses in Line 8,

22A l:lO ml l:lZormore.

If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
Transportation. If you checked l or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS
Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
Statistical Area or Census Region (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
the bankruptcy court.) $ 496_00

 

Local Standards: transportation; additional public transportation expense. If you pay the operating
expenses for a vehicle and also use public transportation, and you contend that you are entitled to an

223 additional deduction for your public transportation expenses, enter on Line 223 the “Public Transportation”
amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from

the clerk of the bankruptcy court.) $ 0,00

 

Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
two vehicles.)

l:ll l:l 2 or more.

Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
(available at www.usdo|'.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
23 Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
Line a and enter the result in Line 23. Do not enter an amount less than zero.

 

a. IRS Transportation Standards, Ownership Costs $

 

b. Average Monthly Payment for any debts secured by Vehicle 1,
as stated in Line 42 $

 

 

 

 

 

c. Net ownership/lease expense for Vehicle 1 Subtract Line b from Line a. $ 0_00

 

Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
checked the “2 or more” Box in Line 23.

Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
(available at www.usdo]` .gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
24 Line a and enter the result in Line 24. Do not enter an amount less than zero.

 

a. IRS Transportation Standards, Ownership Costs $

 

b. Average Monthly Payment for any debts secured by Vehicle 2,
as stated in Line 42 $

 

 

c. Net ownership/lease expense for Vehicle 2 Subtract Line b from Line a. $ 0_00

 

 

 

 

Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
25 federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes. $ 208_12

 

Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
26 payroll deductions that are required for your employment, such as retirement contributions, union dues, and

uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions. $ 597 84

 

Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
27 term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
life or for any other form of insurance. $ 0-00

 

Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
28 required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
payments. Do not include payments on past due obligations included in Line 44. $ 0.00

 

 

 

 

 

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29

Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
Enter the total average monthly amount that you actually expend for education that is a condition of
employment and for education that is required for a physically or mentally challenged dependent child for
whom no public education providing similar services is available.

$ 0.00

 

30

Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
childcare-such as baby-sitting, day care, nursery and preschool. Do not include other educational
payments.

$ 0.00

 

31

Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
on health care that is required for the health and welfare of yourself or your dependents, that is not
reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.

$ 0.00

 

32

Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
actually pay for telecommunication services other than your basic home telephone and cell phone service-
such as pagers, call waiting, caller id, special long distance, or intemet service-to the extent necessary for
your health and welfare or that of your dependents, Do not include any amount previously deducted.

$ 0.00

 

33

 

Total Expenses Allowed under IRS Standards, Enter the total of Lines 19 through 32.

$ 4,342.96

 

Subpart B: Additional Living Expense Deductions
Note: Do not include any expenses that you have listed in Lines 19-32

 

 

34

Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
or your dependents

 

a. Health Insurance

 

b. Disability Insurance

 

 

 

 

 

c. Health Savings Account

 

Total and enter on Line 34

If you do not actually expend this total amount, state your actual total average monthly expenditures in the
space below:

$

 

 

 

35

Continued contributions to the care of household or family members. Enter the total average actual
monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
elderly, chronically ill, or disabled member of your household or member of your immediate family who is
unable to pay for such expenses.

$ 0.00

 

36

Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
actually incurred to maintain the safety of your family under the Family Violence Prevention and Services
Act or other applicable federal law. The nature of these expenses is required to be kept confidential by the
court.

$ 0.00

 

37

Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
provide your case trustee with documentation of your actual expenses, and you must demonstrate that
the additional amount claimed is reasonable and necessary.

$ 0.00

 

38

 

 

Education expenses for dependent children less than 18. Enter the total average monthly expenses that
you actually incur, not to exceed $156.25* per child, for attendance at a private or public elementary or
secondary school by your dependent children less than 18 years of age. You must provide your case trustee
with documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in the IRS Standards,

 

 

$ 0.00

 

*Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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39

Additional food and clothing expense. Enter the total average monthly amount by which your food and
clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
National Standards, not to exceed 5% of those combined allowances. (This information is available at
www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
amount claimed is reasonable and necessary.

0.00

 

40

Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).

0.00

 

41

 

Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40

0.00

 

Subpart C: Deductions for Debt Payment

 

42

Future payments on secured claims. For each of your debts that is secured by an interest in property that
you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page, Enter
the total of the Average Monthly Payments on Line 42.

 

Name of Property Securing the Debt Average Does payment
Creditor Monthly include taxes
Payment or insurance?

PEAK ACCEPTA 2010 DODGE CAL|BER $ 423.00 dyes l:l no
$ El yes l:l no
c. $ l] yes l] no

Total: Add
Lines a, b and c.

 

 

 

 

 

 

 

 

 

 

$

423.00

 

43

Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
in addition to the payments listed in Line 42, in order to maintain possession of the property, The cure
amount would include any sums in default that must be paid in order to avoid repossession or foreclosure
List and total any such amounts in the following chart. If necessary, list additional entries on a separate

Qge.

 

Name of Property Securing the Debt 1/60th of the Cure Amount
Creditor

 

 

 

 

 

 

 

 

 

Total: Add Lines a, b and c

0.00

 

 

Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
filing. Do not include current obligations, such as those set out in Line 28.

 

 

0.00

 

 

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Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative

 

 

 

expense.
a. Projected average monthly chapter 13 plan payment. $
4 5 b. Current multiplier for your district as determined under schedules issued

by the Executive Office for United States Trustees. (This information is
available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy

 

 

 

 

 

 

 

 

 

 

 

 

 

court.) x
c. Average monthly administrative expense of chapter 13 case Total: Multiply Lines

a and b $ 0.00

46 Total Deductions for Debt Payment, Enter the total of Lines 42 through 45. $ 423_00
Subpart D: Total Deductions from Income

47 Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46. $ 4,765_96

Part VI. DETERMINATION OF § 707(b)(2) PRESUMPT!ON

48 Enter the amount from Line 18 (Current monthly income for § 707(b)(2)) $ 2,509.50

49 Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2)) $ 4,765-96

50 Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result $ 0.00

 

51 60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
enter the result. $ 0.00

Initial presumption determination. Check the applicable box and proceed as directed.

 

 

ll The amount on Line 51 is less than $7,475*. Check the box for “The presumption does not arise” at the top of page l
of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.

52 l:l The amount set forth on Line 51 is more than $12,475*. Check the box for “The presumption arises” at the top of
page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
the remainder of Part VI.

l:l The amount on Line 51 is at least $7,475*, but not more than $12,475*. Complete the remainder of Part VI (Lines
53 through 55).

 

53 Enter the amount of your total non-priority unsecured debt

 

 

54 Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result. $
Secondary presumption determination. Check the applicable box and proceed as directed.

 

The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at
55 the top of page 1 of this statement, and complete the verification in Part VIII.

l:l The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
arises” at the top of page l of this statement, and complete the verification in Part VIII. You may also complete Part
VII.

 

Part VII: ADDITIONAL EXPENSE CLAIMS

 

Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
and welfare of you and your family and that you contend should be an additional deduction from your current monthly
income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page, All figures should reflect your
average monthly expense for each item. Total the expenses.

 

56 Expense Description Monthly Amount

 

 

 

%6%6%6

 

Total: Add Lines a, b and c $

*Amounts are subject to adjustment on 4/01/16, and every three years thereafter With respect to cases commenced on or after the date ofadjustment.

 

 

 

 

 

 

 

 

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Part VIII: VERIFICATION

 

l declare under penalty of perjury that the information provided in this statement is true and correct. (lf this is a joint case,
both debtors must sign.) '

57 Date; 04/12/2014 Signature |A Qf l@l£é%/l/(/?C/
( ebtor)

Date: Signature:
(Joint Debtor, t`fan})

 

 

 

 

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
* * * * * *
)
In re: ) Bankruptcy No.:
BURlSCH, DEBORAH § Chapter 7
) vERIFICATIoN oF CREDITOR
) MATRIX
)
)
Debtor(s). )
)
l

 

The above named Debtor hereby verifies that the attached list of creditors is true

and correct to the best of his/her knowledge

Date 04/12/2014 Signature M%Mag)

Date Signature

 

NV_l 008(vercredmatrix).wpd

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AARGON AGENCY
8668 SPRING MOUNTAIN ROAD
LAS VEGAS, NEVADA 89147

AARGON AGENCY
8668 SPRING MOUNTAIN ROAD
LAS VEGAS, NEVADA 89147

AD ASTRA RECOVERY
7330 W 33RD STREET NORTH STE 118
WICHITA KS 67205

ALLIED COLLECTION SERVICES
3080 S DURANGO DRIVE STE 20
LAS VEGAS, NEVADA 89147

ALLIED COLLECTION SERVICES
3080 S DURANGO DRIVE STE 20
LAS VEGAS, NEVADA 89147

AMERICA FIRST CREDIT UNION
POB 9199
OGDEN UT 84409

BANK OF AMERICA
4161 PlEDMONT PARKWAY
GREENSBORO NC 27410

CALVARY PORTFOLIO
500 SUMMIT LAKE DRIVE STE 400
VALHALLA NY 10595

CAPIO PARTNERS
2222 TEXOMA PARKWAY STE 150
SHERMAN TX 75091

CAPIO PARTNERS
2222 TEXOMA PARKWAY STE 150
SHERMAN TX 75091

CAPIO PARTNERS
2222 TEXOMA PARKWAY STE 150
SHERMAN TX 75091

CASH CALL
POB 66007

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ANAHEIM CA 92816

CLARK COUNTY COLLECTIONS
8860 W SUNSET ROAD STE 100
LAS VEGAS, NEVADA 89148

CLARK COUNTY COLLECTIONS
8860 W SUNSET ROAD STE 100
LAS VEGAS, NEVADA 89148

CLARK COUNTY COLLECTIONS
8860 W SUNSET ROAD STE 100
LAS VEGAS, NEVADA 89148

CLARK COUNTY COLLECTIONS
8860 W SUNSET ROAD STE 100
LAS VEGAS, NEVADA 89148

CLARK COUNTY COLLECTIONS
C/O BORG LAW GROUP

8860 W SUNSET ROAD STE 100-1
LAS VEGAS, NEVADA 89148

CLARK COUNTY CREDIT UNION
2625 N TENAYA WAY
LAS VEGAS, NEVADA 89128

CMRE FINANCIAL SERVICES
3075 E IMPERIAL HIGHWAY STE 200
BREA, CA 92821

CREDIT BUREAU CENTRAL
POB 29299
LAS VEGAS, NEVADA 89126

CREDIT BUREAU CENTRAL
POB 29299
LAS VEGAS, NEVADA 89126

CREDIT BUREAU CENTRAL
POB 29299
LAS VEGAS, NEVADA 89126

DECA FINANCIAL SERVICE
POB 910
FlSHERS IN 46032

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ENHANCED RECOVERY
8014 BAYBERRY ROAD
JACKSONVILLE FL 32241

GOLD ACCEPTANCE
POB 1889
ORANGE CA 92856

GOLD ACCEPTANCE
POB 1889
ORANGE CA 92856

IC SYSTEMS
POB 64378
ST PAUL MN 55164

IC SYSTEMS
POB 64378
ST PAUL MN 55164

KENNETH EISEN & ASSOCIATES
777 EMISSOURI AVENUE STE 1
PHOENIX AZ 85014

PEAK ACCEPTANCE
POB 975459
DALLAS TX 75397

PLUS FOUR INC
POB 95846
LAS VEGAS, NEVADA 89196

PLUS FOUR INC
POB 95846
LAS VEGAS, NEVADA 89196

PLUS FOUR INC
POB 95846
LAS VEGAS, NEVADA 89196

PLUS FOUR INC
POB 95846
LAS VEGAS, NEVADA 89196

PLUS FOUR INC

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POB 95846
LAS VEGAS, NEVADA 89196

PLUS FOUR INC
POB 95846
LAS VEGAS, NEVADA 89196

PLUS FOUR INC
POB 95846
LAS VEGAS, NEVADA 89196

PLUS FOUR INC
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PLUS FOUR INC
POB 95846
LAS VEGAS, NEVADA 89196

PLUS FOUR INC
POB 95846
LAS VEGAS, NEVADA 89196

ROYAL MANAGEMENT
26254 INTESTATE
CORP BAERNE TX 78006

ROYAL MANAGEMENT
26254 INTESTATE
CORP BAERNE TX 78006

SENTRY RECOVERY
3080 S DURANGO DRIVE
LAS VEGAS, NEVADA 89147

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SILVER STATE SCHOOLS CREDIT UNION
4221 S MCLEOD DRIVE
LAS VEGAS, NEVADA 89119

SMART FINANCE
3105 E SAHARA AVENUE
LAS VEGAS, NEVADA 89104

WEBBANK/F INGERHUT
POB 1830
WARREN MI 48090

WEST ASSET MANAGEMENT
2703 N HIGHWAY 75
SHERMAN TX 75090

%Fé/
pda r
fyramm /L tro/75

